                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                3:20-cv-00310-RJC-DSC

GERALD JONES,                       )
                                    )
            Plaintiff,              )
                                    )
vs.                                 )
                                    )                           ORDER
                                    )
                                    )
GARY L. MCFADDEN, et al.,           )
                                    )
            Defendants.             )
___________________________________ )

        THIS MATTER is before the Court on review of this docket in this matter.

        Plaintiff Gerald Jones (“Plaintiff”) filed a pro se civil action on June 3, 2020, purporting to

bring claims against four Defendants. [Doc. 1]. After granting Plaintiff in forma pauperis status,

the Court conducted initial review of Plaintiff’s Complaint pursuant to 28 U.S.C. § 1915(e)(2).

The Court found that Plaintiff failed to state a claim upon which relief can be granted and allowed

Plaintiff thirty (30) days from June 17, 2020 to amend his Complaint in accordance with the terms

of the Court’s Order. [Id.]. The Court advised Plaintiff that if he failed to timely file an amended

Complaint, this action would be dismissed without prejudice and without further notice to Plaintiff.

[Id.]. More than 30 days have passed, and Plaintiff has not filed an amended Complaint. The

Court will, therefore, dismiss this action without prejudice.

        IT IS, THEREFORE, ORDERED that:

        1.      The Plaintiff’s Complaint is dismissed [Doc. 1] without prejudice.

        2.      The Clerk is instructed to terminate this action.
Signed: September 25, 2020




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